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DISTRICT OF MASSACHUSETTS m &
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UNITED STATES OF AMERICA y  Cuminal no) Cr [9 MOM me EG
) Violation: eee xO =F
v. ) P23 . Oo
) : Fai Mlowa.
. Count One: Failure to Prepare and FéHow a
BAY STATE GAS COMPANY, doing ) Procedure for the Starting Up and Shutting
business as (“d/b/a”) Columbia Gasof, =) Down of a Pipeline Designed to Assure
Massachusetts, ) Operation within the Maximum Allowable
) Operating Pressure
Defendant ) (49 U.S.C. §§ 60123(a),60118(a); 49 CFR.
, §§ 192.605(a), 192.605(b)(5))

INFORMATION

At all times relevant to this Information:

General Allegations

1. Bay State Gas Company, d/b/a Columbia Gas of Massachusetts (“CMA”), was a

Massachusetts corporation that supplied natural gas to approximately 325,000 customers in
Massachusetts in and around Springfield, Brockton, and three Merrimack Valley communities in
Lawrence, Andover, and North Andover. CMA was a wholly-owned subsidiary of NiSource,

Inc. (“NiSource”), a publically traded company based in Merrillville, Indiana.

2. CMA engaged in the transportation of natural gas, was an operator of a gas

pipeline system as well as a gas distributor operator (“Operator”), and was subject to the

jurisdiction of the U.S. Department of Transportation (“US DOT”) as well as state and local

regulations.
CMA’s Low-Pressure Gas Distribution System in South Lawrence

3. CMA owned and operated a network of gas pipeline systems for the
transportation and delivery of natural gas that included a series of approximately 25 different
low-pressure (“LP”) gas distribution systems in Massachusetts. Among these systems, CMA
owned and operated a LP gas distribution system in the area of South Lawrence (“the South
Lawrence LP System”).

4. The South Lawrence LP System used fourteen (14) regulator stations (“Reg.
Stations”) to supply natural gas to main distribution lines (“mains”) and control downstream
pressure. The Reg. Stations were belowground and contained “regulators” that monitored and
controlled downstream gas pressure.

5. Natural gas came into the South Lawrence LP System at high pressure, about 77
pounds per square inch gauge (“psig”). The regulators decreased pressure to approximately 0.5
psig or 14 inches of water column (“w/c”), a more refined pressure measurement. The Reg.
Stations supplied mains with gas through an outlet pipe. Mains, in turn, supplied gas to
individual houses and businesses through service lines at roughly the same pressure, 0.5 psig or
14 inches w/c.

6. The fourteen (14) Reg. Stations that were part of the South Lawrence LP System
controlled and regulated pressure in an automated manner. Based on the pressure the regulator
sensed downstream, the regulator valve opened or closed to control downstream pressure at a
pre-set limit called a “set-point” to ensure that the pressure in the system did not exceed the
Maximum Allowable Operating Pressure (“MAOP”) and become unsafe. Although it varied, the

MAOP for the South Lawrence LP System was generally 14 inches w/c.
7. Each regulator was equipped with a “regulator control line” also called a “control
line,” “sensing line,” or “static line” (“control line”). A control line was generally a % inch steel
pipe that connected the regulator to the main downstream. Without a control line connected
from the regulator to the downstream gas main, the regulators in the South Lawrence LP System
could not properly function.

8. Each Reg. Station in the South Lawrence LP System had at least two regulators, a
“worker regulator” and a “monitor regulator,” each with a control line that sensed downstream
pressure and connected back to the regulator, thereby enabling the regulator to regulate system
pressure. The worker regulator was the primary regulator that maintained system pressure. The
monitor regulator was the redundant backup in case the worker regulator was damaged or
malfunctioned. If both control lines malfunctioned or failed to read any downstream pressure,
the worker regulator would automatically and continually increase the pressure resulting in an
“over-pressurization” of the LP system.

Background of the Pipeline Safety Act

9. Congress first established minimum safety standards for the transportation of
natural gas and other gases by pipeline in the Natural Gas Pipeline Safety Act of 1968
(“NGPSA”) and directed the Secretary of the US DOT to issue regulations to protect against
risks to life and property posed by pipeline transportation and pipeline facilities.

10. In 1970, in accordance with NGPSA, the Secretary of the US DOT issued
regulations codified in Part 192 of Title 49 of the Federal Code of Regulations, Subparts A

through M (“Part 192”).
11. In 1979, Congress amended the NGPSA to add criminal penalties for knowing
and willful violations of any Part 192 regulation as part of the Hazardous Liquid Pipeline Safety
Act of 1979 (“HLPSA”).

12. In 1994, Congress enacted the Pipeline Safety Act (“PSA”), 49 U.S.C. § 60101 ef
seg. The PSA combined and re-codified, without substantive changes, the two then existing
pipeline safety statutes, NGPSA and HLPSA. The purpose of the PSA was to “provide adequate
protection against risks to life and property posed by pipeline transportation and pipeline
facilities.” 49 U.S.C. § 60102(a)(1).

13. In 2004, Congress amended the PSA by enacting the Norman Y. Mineta Research
and Special Programs Improvement Act of 2004 to create the Pipeline and Hazardous Materials
Safety Administration (““PHMSA”), an agency within the US DOT.

14. In 2006, Congress enacted the the Pipeline Inspection, Protection, Enforcement
and Safety Act (“PIPES”) which directed PHMSA to “prescribe minimum standards for integrity
management programs for distribution pipelines.” 49 U.S.C. § 60109(e).

15. On December 4, 2009, PHMSA promulgated the regulations codified in Subpart P
of Part 192, entitled “Gas Distribution Pipeline Integrity Management (IM).” Subpart P requires
an Operator to “develop and implement” an IM Program by no later than August 2, 2011. 49
C.F.R. § 192.1005.

Regulations Regarding Pipeline Operations and Over-Pressurization

16. Subpart L of Part 192 prescribes the minimum requirements for safe pipeline

operations and states that “no person may operate a segment of pipeline unless it is operated in

accordance with this subpart.” 49 C.F.R. § 192.603(a).
17. Part 192 defines the Maximum Allowable Operating Pressure (““MAOP”) as “the
maximum pressure at which a pipeline or segment of a pipeline may be operated[.]” 49 C.F.R.

§ 192.3. It also defines a “low-pressure distribution system” as a “distribution system in which
the gas pressure in the main is substantially the same as the pressure provided to the customer.”
49 C.F.R. § 192.3. Subpart L further mandates that “[n]o person may operate a low-pressure
distribution system at a pressure high enough to make unsafe the operation of any connected and
properly adjusted low-pressure gas burning equipment” (referring to gas appliances). 49 C.F.R.
§ 192.623(a).

18. | Under Part 192, “[e]Jach operator shall prepare and follow for each pipeline, a
manual of written procedures for conducting operations and maintenance activities,” otherwise
known as an operation and maintenance manual (“O&M Manual”). Among other requirements,
§ 192.605(b)(5) requires that the O&M Manual include a procedure for “starting up and
shutting down any part of a pipeline in a manner designed to assure operation within the MAOP
limits prescribed by this part” in order “to provide safety during maintenance and operations.”

19. | Subpart L also requires an operator to “keep records necessary to administer the
procedures under § 192.605.” 49 C.F.R. § 192.603. Among the records required to be kept, and
made available to operating personnel include, “construction records, maps and operating
history.” 49 C.F.R. § 192.605(b)(3).

The September 13, 2018 Over-Pressurization Event

20. Onor about September 13, 2018, beginning at approximately 4:00 p.m., a series

of fires and explosions resulted from an over-pressurization of the South Lawrence LP System

(“the Event”). By approximately 4:07 p.m., the actual operating pressure of the South Lawrence
LP System increased to more than 35 inches of w/c and ultimately increased until the actual
operating pressure was approximately 13 times greater than the MAOP.

21. The over-pressurization of the South Lawrence LP System caused multiple fires
and explosions including inside house-hold appliances and residences. The resulting fires and
explosions caused substantial damage to approximately 131 residential and commercial
structures in the communities of Lawrence, Andover, and North Andover, including the total
destruction of three houses in Lawrence, injured 22 people, killed one individual in Lawrence

and severely disabled another.
Operational Notice 15-05

22. By at least September 2015, CMA’s employees in the Lawrence Division from
Field Engineering, Construction, and Measurement and Regulation (“M&R”), as well as Senior
Field Engineering Management in CMA were aware of the particular dangers associated with
belowground control lines. In particular, these employees and CMA knew that a faulty,
damaged, or unaccounted for control line on a Reg. Station in a LP system could lead to a
dangerous over-pressurization of the system resulting in fires and explosions in a populated area.

23. Onor about September 2, 2015, NiSource and CMA internally disseminated
Operational Notice (“ON”) 15-05, entitled “Below Grade Regulator Control Lines: Caution
When Excavating Near Regulator Stations or Regulator Buildings.” The impetus for ON 15-05
was a “near miss” experience involving another NiSource company outside of Massachusetts
where a construction crew, excavating to repair a gas leak near a Reg. Station, came close to

hitting a control line and was unaware of its purpose and importance.
24. The stated objective of ON 15-05 was two-fold: “J. Bring awareness to Company
and Contractor employees regarding the existence and importance of regulator control lines. . .
that help to provide critical sensing information for the accurate monitoring and control of outlet
pressure into the Company’s piping systems...” and “2. Set forth required actions for future
Company excavations.”

25. ON 15-05 described what Reg. Station control lines did, and said contro] lines:

... Sense the outlet pressure of the regulator. Based on the pressure sensed
through the control line, the regulator valve will open or close to control the
downstream pressure at the set point of the regulator.

26. ON 15-05 further warned that a broken or disrupted control line could lead to a
“catastrophic event:”

If a control line breaks, the regulator will sense a pressure loss, causing the valve
to open further, resulting in an over pressurization of the downstream piping
system, which may lead to a catastrophic event. The same result occurs if the
flow through the control line is otherwise disrupted (e.g., control line valve shut
off, control line isolated from the regulator it is controlling).

27. Finally, the “Required Action” from ON 15-05 to the Company’s employees was
that:

any Company excavations within the footprint of a [Reg. Station] and/or
within 25 feet of a station building or fence shall only proceed with
M&R standing by throughout the excavation ...

28. While over-pressurization that could result in a “catastrophic event” was a known
risk, CMA never prepared or implemented any written procedure to ensure that belowground
control lines were accounted for, and, if necessary, removed or relocated. Instead, CMA relied
upon an informal practice of encouraging verbal communication among members of Field
Engineering, Construction and M&R when excavation took place within the footprint of a Reg.

Station.
CMA’s Gas System Enhancement Program (“GSEP”)

29. An Act Relative to Gas Leaks, Massachusetts General Law, Chapter 164, Section
145), effective October 1, 2014 (“Section 145”), provided Massachusetts gas utility companies
with a financial incentive to replace or improve aging or leaking gas infrastructure. Under
Section 145, a gas distribution company was permitted to submit a Gas System Enhancement
Program (“GSEP”) plan to the Massachusetts Department of Public Utilities (“MA DPU”).
Among other requirements, the overall GSEP plan had to include a timeline for the removal of
all leak-prone infrastructure within 20 years.

30.  Ifaccepted by the MA DPU, Section 145 permitted a gas distribution company
“to begin recovery of the estimated costs of [pipe replacement] projects included in the plan on
May 1 of the year following the initial filing and collect any revenue requirement, including
property taxes and return associated with the plan.” More broadly, Section 145 permitted a gas
company to more quickly recover its capital costs associated with its yearly forecasted pipeline
replacement through the rates the MA DPU permitted the Company to charge its customers.

31. Onorabout October 31, 2014, CMA submitted its first annual GSEP plan and
thereafter in 2015, 2016 and 2017. In the 2014 GSEP plan, CMA proposed to replace 44 miles
of leak-prone mains and recover approximately $2.6 million in related costs. In its later GSEP
plans submitted to the MA DPU, CMA sought to recover approximately $9 million in costs for
2016, approximately $16.8 million in 2017 and approximately $26.8 million in 2018.

32. In total, between 2015 and 2018, as part of the GSEP program, CMA earned a
total of approximately $49.3 million in accelerated capital cost recovery and, after costs, realized

a total profit of approximately $26.5 million.
The South Union Street Project

33. In or about August 2016, CMA began construction on a GSEP pipe replacement
project in the South Lawrence LP System called the “South Union Street Project” (“the South
Union Project”). The Field Engineering Department in Lawrence selected the South Union
Project in part due to a pending City of Lawrence water-main project that would encroach upon
the two aging cast-iron (“CI”) mains on South Union Street.

34. The South Union Project sought to replace two CI mains from the intersection of
Market Street to Winthrop Avenue on South Union Street, measuring approximately 6 inches
and 8 inches in diameter, with one plastic main. Once installed, the new plastic main would be
“tied-in” and connected to the pipes on the side streets that supplied gas to customers through
service lines. As typical in pipe replacement projects, upon completion of the project, the two CI
mains on South Union Street would be completely disconnected from the LP system and
abandoned in the ground.

35. | The scope of the South Union Street project included the replacement of the CI
mains near a belowground Reg. Station located at the intersection of Winthrop Avenue and
South Union Street (the “Winthrop Reg. Station”), one of the fourteen (14) different regulator
stations that monitored and controlled downstream pressure in the South Lawrence LP System.

36. From in or about September 2015 and continuing up until the time of the Event,
two control lines connected the Winthrop Reg. Station to the two CI mains on South Union

Street.
A. The Control Lines at the Winthrop Avenue Reg. Station

37. In or about early September 2015, two CMA M&R technicians conducting an
annual inspection of the Winthrop Reg. Station discovered that one of the control lines on the
Winthrop Reg. Station failed to read any downstream pressure. Under CMA’s O&M Manual,
each belowground Reg. Station was required to have at least two functional control lines (one for
the “worker” regulator, one for the “monitor” regulator) that connected the Reg. Station to the
mains to monitor and regulate downstream pressure.

38. Further investigation by the M&R technicians revealed that the control line
reading zero pressure had been erroneously left on the CI main on Winthrop Avenue sometime
in 2015, near the intersection of South Union Street, during an earlier pipe replacement project
known as the “Parker Street Project.” Having only one functional control line was a violation of
CMA’s O&M procedures and created a significant risk of an over-pressurization event had the
second control line also failed.

39. Following the discovery of the control line erroneously left on the abandoned
pipe, on or about September 21, 2015, a CMA Construction Leader (“Construction Leader-1”)
coordinated the installation of a new control line for the Winthrop Reg. Station. Instead of
connecting to the abandoned main on Winthrop Avenue, the new control line connected the
Winthrop Reg. Station to the 8-inch CI main on South Union Street approximately 39 feet from
the Winthrop Reg. Station, a distance further than the 25 feet parameter in ON 15-05.

40. Following the installation of the new control line, a CMA inspector created a
hand-drawn “as-built” drawing to document the location of the new control line. Although not

foreseen as part of the construction in the Parker Street Project, records of the installation of the

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new control line from the Winthrop Reg. Station became part of CMA’s records relating to the
Parker Street Project. As a result of the installation, a darkened asphalt trench with spray-painted
markings remained visible on the street from the Winthrop Reg. Station across South Union
Street to the location of the CI mains up through the day of the Event.

41. Less than a year later, on or about May 13, 2016, a third party construction crew
conducted an additional pressure test of the same newly installed control line from the Winthrop
Reg. Station. As part of the process, the construction crew, with a CMA inspector onsite,
excavated and removed a portion of the new control line and re-attached the control line again to
the 8-inch South Union CI main.

B. CMAs Records of Control Lines in Lawrence

42. Prior to the Event, CMA did not maintain consistent and reliable records of
control lines. Instead of mapping control lines into their main computerized mapping system,
Geographic Information System (“GIS”), records of control lines were primarily located in a
patchwork of multiple locations, including records of completed construction projects known as
the “Work Done Files” and “Capital Close-Out” Files; a paper notebook of the location of
critical valves known as the “Critical Valve Book” (“CVB”); and in a binder of documents that
M&R personnel kept in their CMA trucks.

43. | As employees from CMA Engineering, Construction and M&R in Lawrence
knew, the records regarding the location of control lines were often outdated, incomplete and
thus unreliable. Records of the locations of the control lines for the Winthrop Reg. Station were
first located in the CVB, a binder that contained hard copies of maps that depicted the location of

“critical valves,” valves designated by both state and federal code as critical. The Lawrence

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Engineering Department kept and maintained the CVB, but did not regularly or consistently
update information about the location of control lines. For example, for the Winthrop Regulator
Station, the CVB had the location of the control lines as they existed in approximately May
2010, but when the new control line was installed in or about September 2015, the CVB was
never updated to reflect the change.

44. —_ A second location for records of control lines was the Work-Done and Capital
Close-Out Files. Following the completion of a construction job, CMA Construction inspectors
completed hand-drawn “as-built” drawings to record the location of pipes and new infrastructure.
In the case of the Winthrop Reg. Station, while the Work-Done and Capital Close-Out File for
the Parker Street Project included the “as-built” drawing for the September 2015 installation of
the new control line, the drawing did not depict the location of the second control line from the
Winthrop Reg. Station to the CI main on South Union Street.

45. A third location for records of control lines were the binders of documents and
hand-drawn diagrams often referred to as “bibles” that M&R personnel kept in their trucks that
were not maintained in a centralized location. With regards to the Winthrop Reg. Station, the
M&R book contained two diagrams with information about the location of the control lines in
approximately 2000 and 2010, but did not reflect the location of the newly installed control line
from September 2015.

46. | While GIS, CMA’s most readily available and centralized record of their pipeline
system, depicted the location of the Reg. Stations and the outlet pipes, it generally did not
include any information about the control lines. Furthermore, despite concerns that CMA

engineers raised about control lines not being consistently mapped in GIS, CMA deliberately

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chose to not include consistent and reliable information about the location of control lines in GIS
and instead relied upon the patchwork of records described above that were often outdated and
unreliable.

47. For example, on or about April 24, 2017, a NiSource engineer in Gas Systems
Planning (“GSP”) working with CMA Field Engineers scheduled a telephonic meeting entitled
“Feasibility discussion of mapping reg station control lines in GIS” with the Leader of GIS
Capital Closeout and a Leader of Field Engineering (“FE Leader”). During the meeting, GSP
Engineer expressed concerns that control lines were not included in GIS and was adversely
affecting the accuracy of gas pressure models for Field Engineers.

48. Despite this concern, CMA deliberately chose not to change its practice and failed
to include the location of control lines into GIS because of the substantial cost involved in
proactively locating and mapping control lines. Instead, the primary use and utility of GIS
continued to be the accounting of the replacement and abandonment of CI pipe for capital
recapture in the GSEP program, a financial benefit for CMA.

C. The Responsibility for Control Lines

49. | Without any clear direction and implementation of a procedure to address the
dangers associated with control lines, and despite the known risk, employees in CMA’s
Lawrence Division in Engineering, M&R and Construction frequently ignored and shifted the
responsibility for locating and accounting for control lines to other Departments. For example,
while employees in the Field Engineering Department in Lawrence considered the control lines

to be an M&R responsibility (because they were associated with Reg. Stations), M&R personnel

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considered control lines to be an Engineering responsibility because the control line pipes
extended outside the boundaries of the Reg. Station.
D. Early Planning Stages of the South Union Project

50. In and around 2015, CMA Field Engineering in Lawrence was understaffed and
consisted only of two Field Engineers: a more junior Field Engineer (“Field Engineer-1”) whom
CMA hired in approximately July 2015 with no prior professional engineering experience and a
more senior Field Engineer ( “Field Engineer-2”). Because of Field Engineer-2’s workload, in or
about late 2015, Field Engineer-2 gave the South Union Project to Field Engineer-1. In terms of
size, complexity and budget, the South Union Project, at a projected cost of over $1.4 million,
was the largest project on which Field Engineer-1 had ever worked to date.

51. In or about February 2016, Field Engineer-1 finalized an initial Proposed Drawing
(“Pro-Drawing”) for the South Union Project that included maps derived from GIS that depicted
the location of the existing gas main to be abandoned and the proposed location of the new
plastic main. The Pro-Drawing also depicted the location of the Winthrop Reg. Station and
outlet pipes, but because CMA did not include information about control lines in GIS, the Pro-
Drawing also did not include any information about control lines.

52. While Field Engineer-1 and others members of Field Engineering knew the
precise danger associated with control lines, throughout the duration of the project from
approximately late 2015 and continuing until the day of the Event, Field Engineer-1 never took
any action to locate the control lines associated with the Winthrop Reg. Station. Moreover,
despite the high probability of a catastrophic over-pressurization of a LP system that would result

if a Reg. Station’s control lines were left connected to a main that was then replaced and

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abandoned, CMA and CMA’s Field Engineering Department never implemented any formal
written procedure to ensure the necessary relocation of control lines.

53. Instead, CMA followed an informal practice of encouraging verbal
communication and collaboration among members of Field Engineering, Construction and M&R
involved in a particular project including through a process called “Constructability Reviews.”

54. For example, on or about March 1, 2016, Construction Leader-1 and Field
Engineer-1 engaged in the first of three “Constructability Reviews” on the South Union Project,
a discussion between Field Engineering and Construction that followed a two-page checklist
entitled “Constructability/Safety Review.” The two-page checklist, from a CMA template, was
required documentation for a pipe replacement project, but made no reference to control lines
and did not require a formal discussion with M&R.

55. Despite the fact that Construction Leader-1 knew that in September 2015, a new
control line had been installed from the Winthrop Reg. Station to the CI main on South Union
Street that was now planned for abandonment in the South Union Project, Construction Leader-1
never discussed with or identified to Field Engineer-1 the need to relocate the control line on the
South Union Street CI main. Instead, Construction Leader-1 encouraged Field Engineer-1 to
discuss with then-Leader of M&R (“M&R Leader-1”) the type and size of the valve needed for a
new outlet pipe that would connect the Winthrop Reg. Station to the new plastic main on South
Union Street.

56. | While Field Engineer-1 generally discussed the South Union Project with M&R
Leader-1, Field Engineer-1 did not have a meaningful conversation about the control lines or the

necessity to relocate the control lines at the end of the project with M&R Leader-1. Instead,

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Field Engineer-1 assumed that nothing further was needed from Engineering even though Field
Engineer-1 knew that nothing had been done to plan for, or actually relocate, the control lines
before the final abandonment of the CI mains on South Union Street. In doing so, CMA
recklessly disregarded a known and certain risk of a catastrophic over-pressurization.

E. Approval of the South Union Street Project

57. In or about March 2016, Field Engineer-1 submitted the South Union Project for
approval first to the Leader of FE and then to the Manager of Field Engineering for CMA (“FE
Manager”). Among the materials that Field Engineer-1 submitted through the company’s Work
Management System were a scope map of the project, specific tie-in and abandonment
procedures for the various stages of the project, and a Project Budget Request (“PBR”) that
indicated that the total cost of the project was approximately $1.4 million, but which would
ultimately result in the retirement of approximately 7,500 feet of CI main pipe for the GSEP
Program.

58. | The PBR also made clear that the project involved the ultimate abandonment of a
substantial portion of CI mains but not their entirety “due to the regulator station at the
intersection of S. Union Street and Winthrop Ave and that the LP system in this area depends on
the stretch of LP mains on S. Union St.”” The documents that Field Engineer-1 submitted
through WMS Docs to senior Engineering Management did not include any procedure for the
relocation of the control lines before the final abandonment of the CI mains.

59. Even though Field Engineering was ultimately responsible for the design and
procedures for the execution of the South Union Project, and Engineering Management knew

that the South Union Project was Field Engineer-1’s largest and most difficult project to-date,

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members of Field Engineering Management never addressed the need to relocate, or account for,
the control lines on the Winthrop Reg. Station to prevent an over-pressurization event. Instead,
Field Engineering Management focused its’ project review on cost and budget issues. Both the
FE Leader and FE Manager approved the project for release to the construction phase without
any discussion about control lines or concerns about over-pressurization.

Construction of the South Union Project in 2016

60.  Inor about July 2016, construction of the South Union Project began with a third-
party contractor construction crew and one of three CMA inspectors onsite. From in or about
August 2016 through the remainder of 2017, a third-party contractor (“CMA Inspector-1”)
served as the project’s primary inspector. On at least two different occasions in 2016, the
construction crew, with a CMA inspector onsite conducted work in and around the Winthrop
Reg. Station.

61. First, on or about August 9, 2016, the construction crew excavated in the area of
the Winthrop Reg. Station in order to install the new plastic main directly under the two control
lines that connected the Winthrop Reg. Station to the CI main’s on South Union Street. Even
though a CMA inspector was onsite during the work, CMA did not document or record the
location of the control lines.

62. Second, on or about October 17, 2016, the construction crew installed an outlet
pipe from the Winthrop Reg. Station to the newly installed plastic main. The same day, in an
email at approximately 9:09 p.m., Construction Leader-1 informed M&R Leader-1 that
construction was “working on the low pressure outlet [at the Winthrop Reg. Station]... and

eventually moving the static lines to the new outlet piping.”

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63. On or about October 27, 2016, CMA was required to discontinue construction on
the South Union Project due to a citywide moratorium from the City of Lawrence on all gas,
water and sewer construction projects in Lawrence. Thereafter, from in or about 2017 until in or
about early 2018, the City of Lawrence discontinued authorizing permits for all but a limited
number of public utility construction projects due to a concern about a lack of coordination and
communication about ongoing construction projects.

64. While originally planned for completion by the end of 2016, due to the citywide
moratorium, in late 2016 the project was placed on hold. By in or about October 2016, the
construction crew installed and “energized” the new plastic main on South Union Street by
feeding the main with gas from the Winthrop Reg. Station. The construction crew, however, was
unable to begin any of the “tie-in” and abandonment procedures to “tie-in” or connect the side-
streets to the new plastic main and thus was also unable to abandon the CI mains on South Union
Street.

65. | By December 2016, CMA Inspector 1’s notes on the tie-in procedures to Field
Engineering made clear that the regulator at the Winthrop Reg. Station was still connected to the
old CI-mains on South Union Street and were “NOT CUT-OFF AS OF 12-9-16,” meaning that
gas from the Winthrop Reg. Station was still feeding the two CI mains on South Union Street.

66. Around the same time, Construction Leader-1 and CMA Inspector-1 had
discussions about the need to eventually move the control lines, but neither took any material
action to ensure that the controls lines were moved at the appropriate time to prevent a

catastrophic over-pressurization event. Moreover, by the completion of the project in 2018,

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Construction Leader-1 was working in a new position and CMA Inspector-1 was working on
different construction projects.

67. As aresult, though it was originally planned to be one of three “carry-over
projects” that was at first scheduled for 2017, the continued construction of the South Union
Project was ultimately delayed until approximately May 2018.

The Project Cost Review of the South Union Project in 2017

68. On or about January 16, 2017, Field Engineer-1 submitted an updated PBR for
the “carry-over” South Union Project to Field Engineering Management. In contrast to the first
PBR submitted for the South Union Project on March 9, 2016, the updated PBR had an estimated
total additional cost of more than $1.1 million with a projected completion date of the fall of
2017, though no construction took place in 2017.

69. As aresult of the increased costs related to the South Union Project, the FE
Manager scheduled a “Project Cost Review” to take a closer look at the South Union Project
“due to its’ size and the financial impact to the budget.”

70. The Project Cost Review for the South Union Project took place on or about
February 17, 2017 and included a presentation from Field Engineer-1 and Construction Leader-1
to the FE Manager. The presentation was focused on cost and included a slide entitled “Work
Completed in 2016 (what did we get for our money).” The presentation also addressed the
construction involving the Winthrop Reg. Station and made clear was still feeding both old CI
mains as well as the new plastic main on South Union Street. The presentation also included a
timeline of events that emphasized the fact that “City of Lawrence shut down all work” on

October 17, 2016 as the primary reason for the “extended contracting costs.”

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71. | While over three consecutive years in 2016, 2017 and 2018 both the FE Manager
and FE Leader participated in the approval of the South Union Project and a more detailed
Project Cost Review in February 2017, no one from Field Engineering involved in the project
ever specifically addressed the need to account for the control lines on the Winthrop Reg. Station
to prevent a known risk of catastrophic over-pressurization. Instead, CMA and Field
Engineering’s evaluation of risk focused on the actual occurrence of prior events affecting
pipeline integrity and the fact that, despite a 2015 “near-miss” involving control lines within
NiSource, CMA had never previously had a serious over-pressurization event involving control
lines.

Field-Engineering’s Focus on GSEP Goals and Company Earnings

72. While CMA Field Engineering was ultimately responsible for the design and
written procedures relating to pipeline replacement projects, the focus of the FE Manager’s
position was the management and administration of CMA’s Capital Expenditure and GSEP
Program, and promoting the achievement of the company’s financial objectives. Following the
initiation of the GSEP Program in or about 2015, CMA dictated yearly mileage goals under the
GSEP program that increased annually. The FE Manager made clear to CMA employees that
meeting GSEP mileage goals was directly connected to company earnings.

73. For example, on or about January 6, 2017, following the completion of the first
full year of GSEP in 2016, the FE Manager emailed Engineering, Construction and Senior
Management in CMA to tout the booking of approximately $67.3 million in capital expenditures
as a “huge milestone” and stated that their meeting “the GSEP targets is contributing to the

earnings of CMA.”

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74. In addition, during monthly Capital Program Management Meetings, the FE
Manager frequently encouraged CMA employees from Construction and Engineering to timely
execute and close-out capital GSEP projects and connected the completion of these projects to
company earnings. In April 2016, the FE Manager’s presentation included a graphic linking the
terms “Concept,” “Execute,” and “Close Out” to promote the timely completion of projects. By
April 2018, the FE Manager added the term “Earnings” to flow directly from the “Close Out” or
completion of GSEP projects to emphasize the point that company earnings derived directly
from completed GSEP projects.

75. In addition to touting success, the FE Manager also frequently expressed
dissatisfaction directly to subordinates and direct reports about the failure to meet GSEP goals
for the retirement of “priority pipe.” For example, on or about November 16, 2017, the FE
Manager emailed that “failing to meet a goal of retiring 234,000 fi will be severely frowned
upon. (think Game of Thrones... :-).”

76. On or about March 12, 2018, after CMA had reported the retirement of only 43
miles of pipe, the FE Manager emailed that, “We better have retired more than 43 miles of
priority pipe! More like 53 miles.”

77. Onor about September 7, 2018, following an email from the leader of the Capital
Closeout that CMA was approximately 14 miles behind its goal for the retirement of priority
pipe, the FE Manager emailed a group of subordinates, “For CMA we are 14 miles behind. My
question to the group, is anyone concerned that we will not meet our target for the year? If so,
what can we do to mitigate the risk?” referring to the risk of failing to meet the GSEP goal rather

than any particular risk of pipeline integrity or safety.

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The M&R Department in Lawrence

78. Between approximately 1988 and January 2018, CMA’s M&R Department in
Lawrence was primarily responsible for maintaining the Reg. Stations and ensuring compliance
with state and federal regulations as well as the company’s internal Gas Standards that were
based on state and federal regulations, primarily Part 192. During the same period of time,
among other responsibilities, M&R was also responsible for maintaining and staffing a Liquefied
Natural Gas (“LNG”) and Liquid Propane Gas (“LPG”) Plant in the Lawrence area that provided
additional supplies of gas for winter.

79. In or about 2017, CMA Senior Management proposed a structural change to the
Lawrence M&R Department, already in place in the Brockton and Springfield M&R
Departments that would divide the responsibility for M&R and the LNG/LPG Plant into two
separate departments. By no later than mid-2017, M&R Leader-1 complained to CMA’s Vice
President and Operations Center Manager (“OCM-1”) that the change would be a bad decision,
resulting in a lack of resources to manage not only the LNG/LPG Plant, but the area Reg.
Stations.

80. Specifically, because the six total qualified employees in M&R could not shift
responsibility between Plants and M&R as needed, only two M&R personnel would be left to
manage all the Reg. Stations in Lawrence, Andover and North Andover. Around the same time,
CMA Senior Management also knew that CMA needed more use of its LNG/LPG Plant,
particularly in winter, due to the recent defeat of a proposed transmission pipeline in Northern
Massachusetts, requiring four M&R Technicians to work 12-hours shifts to operate the Plant

around-the-clock with a minimum staff of two employees per shift. According to an October

22
2017 email regarding M&R Leader-1’s concern, “That leaves no time to respond to regulator
station issues or the like.”

81. Pursuant to a request from CMA’s Vice President, M&R Leader-1. was required
to put together “a business case” for more resources in M&R. As a result, on or about October
16, 2017, M&R Leader-1 made a presentation to CMA’s Vice President, OCM-1 and the
Finance Director about the need for more resources in M&R and the Plant. During the meeting,
M&R Leader-1 described the need for more resources as “urgent” and warmed that there were
potential consequences for not adding the resources, including the fact that M&R could not
adequately respond if there were multiple Reg. Station concerns. While the CMA Vice President
ultimately agreed to provide the additional resources that M&R Leader-1 requested, CMA did
not secure more resources for M&R until after the Event, and still divided M&R and the Plant
into separate divisions.

82. Specifically, between in or about December 2017 and April 2018, CMA senior
management shifted the responsibility for Lawrence M&R and Reg. Stations from M&R Leader-
1 to the leader of M&R for Brockton and Springfield (““M&R Leader-2”) while M&R Leader-1
retained responsibility for the Plant. By in or about May 2018, M&R Leader-1, the sole CMA
employee with the most knowledge of all Lawrence Reg. Stations, abruptly retired from CMA.

83. | Around the same time, in April 2018, CMA shifted managerial responsibilities in
Lawrence in order to focus on the “rate case” before the MA DPU to increase the rates CMA
could charge to CMA’s customers, based in part on the GSEP Program. According to a January

29, 2019 email from the Vice President of CMA, “After the filing [of the rate case in April

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2018], the next six to eight months are focused on the case management and the litigation
process — creating a significant burden on resources.”

84. In order to shift CMA’s focus to the upcoming rate case, in late January 2018,
CMA temporarily gave the Lawrence Manager of Systems Operations (“OCM-2”) the additional
responsibility of serving as the Lawrence OCM, with oversight over M&R in Lawrence even
though OCM-2 had no prior experience with M&R as well as no understanding of ON 15-05 and
the importance of control lines.

The Continuation of the South Union Project in 2018

85. Onor about January 19, 2018, for the third consecutive year, Field Engineer-1
submitted a PBR for the South Union Project to Senior Field Engineering Management. After
several revisions to the budget and cost documents that the FE Manager directed, by on or about
March 20, 2018, both the FE Leader and FE Manager again approved the continuation of the
South Union Project for construction and completion in 2018.

86. | The managerial review of the project was again focused on cost and budget in part
because the project was delayed, over-budget, and needed to be completed in order to allow for a
City of Lawrence water project to commence in the same area. Immediately following the
approval, in an email on or about March 20, 2016, Field Engineer-1 informed Construction that,
“This is one of the projects that needs to start as soon as the city allows us” in order to complete
the project in 2018. Furthermore, unlike the previous two years, no Constructability Review
took place between Field Engineering and M&R. Instead, the South Union Project proceeded to
the final construction phase without any formal or informal collaboration or planning among

Field Engineering, Construction, and M&R.

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87. The final stages of the South Union Project involved step-by-step “tie-in” and
abandonment procedures whereby the construction crew would “tie-in” or connect the new
plastic main to the side-streets and cut-off portions of the CI mains on South Union Street. As
CMA collectively contemplated and planned, the project would be completed upon the final “tie-
in” and abandonment procedure. At that time, the CI mains on South Union Street would be
abandoned and completely disconnected from the flow of gas.

88. Nevertheless, despite the fact that CMA knew that the control lines were still
attached to the CI mains and that the complete abandonment of the CI mains would cause the
Winthrop Reg. Station control lines to read decreasing pressure, prompting the regulators to
automatically and continually supply more gas to the South Lawrence LP System to the point of
a dangerous over-pressurization, CMA did not prepare and follow, nor even contemplate, a
formal written procedure for the removal of the control lines CMA knew was needed to prevent
an over-pressurization and assure operation within the MAOP.

89. Furthermore, while CMA had encouraged an informal practice of verbal
communications and collaboration among Field Engineering, CMA and Senior Management
knew that by 2018, with the exception of Field Engineer-1, each of the prior significant
participants in the South Union Project — including Construction Leader-1, M&R Leader-1,
CMA Inspector-1, and the 2016 construction crew — were no longer involved in the project. Yet,
CMA did nothing to manage the change in personnel or to pass on the information about the
project they collectively shared.

90. For example, in early 2018, Construction Leader-1 took a new position with

CMA in the Lawrence Operations Department. Construction Leader-1 was directly involved in

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the installation of the new control line in 2015, and knew that CMA would have to eventually
move the control lines on the Winthrop Reg. Station, but failed to inform the new Construction
Leader or the new CMA Inspector (“CMA Inspector-2’) about the need to relocate the control
lines to prevent an over-pressurization.

91. The renewed construction of the South Union Project began with a new
construction crew and CMA Inspector-2 on or about May 22, 2018. On or about June 12, 2018,
the construction crew began work near the Winthrop Reg. Station. During the construction,
CMA Inspector-2 contacted Field Engineer-2 and Field Engineer-1 when it was discovered that
the construction crew could not excavate in a particular area because the street had been newly
paved.

92.  Asaresult, Field Engineer-2 and Field Engineer-1 viewed the construction site,
and directed the construction crew to alter the procedure to “cut-and-cap” portions of the old Cl
mains on South Union Street, thus removing portions of the CI mains from the street. At the
time of the construction, CMA Inspector-2 noted the darkened asphalt trench - depicting the
location of the control line installed in September 2015 - but wrongly assumed the trench was the
location of the outlet pipe. At the same time, while present at the construction site, neither Field
Engineer-2 or Field Engineer-1 ever took any steps to investigate or determine the location of the
control lines or contact M&R even though the construction site was in close proximity to the
Winthrop Reg. Station.

93. Onor about September 13, 2018, at approximately 4:00 p.m., the construction
crew completed the final “tie-in” and abandonment procedure following the procedures CMA

provided to the crew at the intersection of Salem Street and South Union Street. While not

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anticipated by the construction crew, the final “tie-in” and abandonment procedure resulted in
the complete abandonment of the CI mains on South Union Street. Upon the complete
abandonment and isolation of the CI mains on South Union Street, the Winthrop Reg. Station -
that CMA knew was still connected to the CI mains on South Union Street - sensed a sharp
decline in pressure, causing the Winthrop Reg. Station to automatically and continually feed
more pressure into the South Lawrence LP System causing the catastrophic over-pressurization

event described above in paragraphs 20 and 21.

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COUNT ONE
Failure to Prepare and Follow a Procedure for the Starting Up and Shutting Down of a Pipeline
Designed to Assure Operation within the Maximum Allowable Operating Pressure
(49 U.S.C. §§ 60123(a), 49 U.S.C. § 60118(a);
49 C.F.R. §§ 192.605(a), 192.605(b)(5))
The United States Attorney charges:
94. The United States Attorney re-alleges and incorporates by reference paragraphs 1-
93 of this Information.
95. From in or about 2015 through on or about September 13, 2018, in in the District

of Massachusetts, the defendant,

BAY STATE GAS COMPANY,
d/b/a Columbia Gas of Massachusetts,

by and through the actions of its employees, and through a pattern of flagrant organizational
indifference, knowingly and willfully violated a minimum safety standard for the starting up and
shutting of any part of a distribution pipeline, as set forth in Title 49, Code of Federal
Regulations, Section 192.605(b)(5). Specifically, BAY STATE GAS COMPANY, d/b/a
Columbia Gas of Massachusetts, knowingly and willfully failed to prepare and follow
procedures to remove and relocate regulator control lines on the South Union Project to assure
operation of the South Lawrence LP System within the Maximum Allowable Operating Pressure
and safety during maintenance and operations.

All in violation of Title 49, United State Code, Section 60123(a).

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ANDREW E. LELLING
United States Attorney

By: ¢ Auf Pre \
Neil J. @allagher, Jr.

Evan Gotlob
Assistant U.S. Attorneys

Dated: February 26, 2020

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